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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                                _________


RONNIE R. HARMON, et al.,

       Plaintiffs,                            Hon. Gordon J. Quist

v.                                            Case No. 1:17-cv-00727-GJQ-PJG

YRC, INC., et al.,

       Defendants,
________________________________/

                                     ORDER

      This matter is before the Court on Plaintiff's second motion to compel

discovery. (ECF No. 26). Defendants have responded. (ECF No. 28). The Court

conducted a hearing today at which all parties were represented. Having considered

the parties’ oral and written submissions, and for the reasons stated on the record,

the motion (ECF No. 26) is DENIED.

      IT IS SO ORDERED.



Date: July 9, 2018                    /s/ Phillip J. Green
                                      PHILLIP J. GREEN
                                      United States Magistrate Judge
